                      Case 14-40064                              Doc 1                 Filed 11/04/14 Entered 11/04/14 12:25:11                                                              Desc Main
B1 (Official Form 1) (4/13)                                                              Document     Page 1 of 68
                                                              United States Bankruptcy Court                                                                                                  Voluntary Petition
                                                          NORTHERN DISTRICT OF ILLINOIS
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Inan, Zabrin
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   0307                                                                                (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  1750 N. Mohawk #204
  Chicago, IL
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               60614
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Cook                                                                 Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                  Case 14-40064                   Doc 1           Filed 11/04/14 Entered 11/04/14 12:25:11                                                   Desc Main
B1 (Official Form 1) (4/13)                                         Document     Page 2 of 68                                                                         FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Zabrin Inan
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ MICHAEL R. RICHMOND                                                        9/23/2014
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (4/13)                                        Document     Page 3 of 68                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Zabrin Inan
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Zabrin Inan
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     9/23/2014                                                                        (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ MICHAEL R. RICHMOND                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     MICHAEL R. RICHMOND 3124632
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     HELLER & RICHMOND, LTD.                                                    pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     33 NORTH DEARBORN STREET                                                   or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     SUITE 1907
     CHICAGO, IL                      60602
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     (312) 781-6700
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     9/23/2014                                                                   individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                 Case 14-40064
B 1D (Official Form 1, Exhibit D) (12/09)     Doc 1        Filed 11/04/14 Entered 11/04/14 12:25:11                                    Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re Zabrin Inan                                                                                                         Case No.
                                                                                                                                          (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
                  Case 14-40064
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               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Zabrin Inan
                                    Date:    9/23/2014
               Case 14-40064
Rule 2016(b) (8/91)                   Doc 1      Filed 11/04/14 Entered 11/04/14 12:25:11                  Desc Main
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                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
        Zabrin Inan                                                                                 Case No.
In re
                                                                                                    Chapter 7
                                                                                         / Debtor
        Attorney for Debtor:   MICHAEL R. RICHMOND

                                   STATEMENT PURSUANT TO RULE 2016(B)

The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
1. The undersigned is the attorney for the debtor(s) in this case.

2. The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
   a) For legal services rendered or to be rendered in contemplation of and in
      connection with this case . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $           1,500.00
   b) Prior to the filing of this statement, debtor(s) have paid . . . . . . . . . . . . . . . $                  1,500.00
   c) The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   0.00

3. $             335.00          of the filing fee in this case has been paid.

4. The Services rendered or to be rendered include the following:
   a) Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining whether to
      file a petition under title 11 of the United States Code.
   b) Preparation and filing of the petition, schedules, statement of financial affairs and other documents required by the
      court.
   c) Representation of the debtor(s) at the meeting of creditors.

5. The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation for
   services performed, and
      None other

6. The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any, will
   be from earnings, wages and compensation for services performed, and
     None other

7. The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following for
   the value stated:
      None

8. The undersigned has not shared or agreed to share with any other entity, other than with members of undersigned's
   law firm, any compensation paid or to be paid except as follows:
      None

Dated: 9/23/2014                               Respectfully submitted,


                                              X /s/ MICHAEL R. RICHMOND
                        Attorney for Petitioner: MICHAEL R. RICHMOND
                                                 HELLER & RICHMOND, LTD.
                                                 33 NORTH DEARBORN STREET
                                                 SUITE 1907
                                                 CHICAGO IL 60602
                                                 (312) 781-6700
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                                   UNITED STATES BANKRUPTCY COURT
                            NOTICE TO INDIVIDUAL CONSUMER DEBTOR
   The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you
   may file a bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek
   the advice of an attorney to learn of your rights and responsibilities under the law should you decide to file a petition
   with the court. Court employees are prohibited from giving you legal advice.



Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)
           1.    Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

           2.    Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as
                 exempt under governing law. The trustee then liquidates the property and uses the proceeds to pay your
                 creditors according to priorities of the Bankruptcy Code.

           3.    The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
                 found to have committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge
                 may be denied by the court, and the purpose for which you filed the bankuptcy petition will be defeated.

           4.    Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you
                 may still be responsible for such debts as certain taxes and student loans, alimony and support payments,
                 criminal restitution, and debts for death or personal injury caused by driving while intoxicated from alcohol or
                 drugs.
           5.    Under certain circumstances you may keep property that you have purchased subject to valid security
                 interest. Your attorney can expain the options that are available to you.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155
filing fee plus $39 administrative fee)

           1.    Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but
                 would like to pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do
                 not exceed certain dollar amounts set forth in the Bankuptcy Code.

           2.    Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you
                 owe them, using your future earnings. Usually, the period allowed by the court to repay your debts is three
                 years, but no more than five years. Your plan must be approved by the court before it can take effect.

           3.    Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as
                 you continue to make payments under the plan.

           4.    After completion of payments under the plan, your debts are discharged except alimony and support
                 payments, student loans, certain debts including criminal fines and restitution and debts for death or personal
                 injury caused by driving while intoxicated from alcohol or drugs, and long term secured obligations.

Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
          Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an
attorney.
Chapter 12: Family farmer ($200 filing fee plus $39 administrative fee)
            Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and
is in many ways similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm.


I, the debtor, affirm that I have read this notice.

         9/23/2014                            /s/Zabrin Inan
                Date                                         Signature of Debtor                                     Case Number




                                                      DEBTOR COPY                  COURT COPY
                                                                    (circle one)
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FORM B6A (Official Form 6A) (12/07)         Doc 1     Filed 11/04/14 Entered 11/04/14 12:25:11                             Desc Main
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In re Zabrin Inan                                                                                ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                               None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)
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In re Zabrin Inan                                                                                         ,                  Case No.
                                                   Debtor(s)                                                                                                     (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                     N            Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                    o                                                                       Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                    n                                                                                            Secured Claim or
                                                                                                                               Joint--J
                                                    e                                                                     Community--C               Exemption


1. Cash on hand.                                    X

2. Checking, savings or other financial                 TCF checking                                                                                         $100.00
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building         Location: In debtor's possession
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,         X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                     misc household goods and furnishings                                                             $1,000.00
   including audio, video, and computer
   equipment.                                           Location: In debtor's possession


5. Books, pictures and other art objects,               Reference Books                                                                                  $1,000.00
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or               Location: In debtor's possession
   collectibles.



6. Wearing apparel.                                     Necessary clothing                                                                                   $500.00
                                                        Location: In debtor's possession


7. Furs and jewelry.                                X

8. Firearms and sports, photographic, and               2 exercise machines                                                                                  $600.00
   other hobby equipment.
                                                        Location: In debtor's possession


9. Interests in insurance policies. Name            X
   insurance company of each policy and
   itemize surrender or refund value of each.
10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such



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In re Zabrin Inan                                                                                       ,     Case No.
                                                   Debtor(s)                                                                                 (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
                                                                          (Continuation Sheet)

                                                                                                                                 Current
               Type of Property                     N            Description and Location of Property                             Value
                                                                                                                            of Debtor's Interest,
                                                    o                                                         Husband--H    in Property Without
                                                                                                                  Wife--W      Deducting any
                                                    n                                                                        Secured Claim or
                                                                                                                 Joint--J
                                                    e                                                       Community--C         Exemption

   interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other         X
    vehicles and accessories.

26. Boats, motors, and accessories.                 X

27. Aircraft and accessories.                       X

28. Office equipment, furnishings, and                  2 old laptops                                                                    $600.00
    supplies.
                                                        Location: In debtor's possession




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In re Zabrin Inan                                                                                  ,              Case No.
                                              Debtor(s)                                                                                              (if known)


                                                   SCHEDULE B-PERSONAL PROPERTY
                                                                     (Continuation Sheet)

                                                                                                                                         Current
                 Type of Property              N            Description and Location of Property                                          Value
                                                                                                                                    of Debtor's Interest,
                                               o                                                                  Husband--H        in Property Without
                                                                                                                      Wife--W          Deducting any
                                               n                                                                                     Secured Claim or
                                                                                                                     Joint--J
                                               e                                                                Community--C             Exemption

                                                   iiphone 5s                                                                                    $200.00
                                                   Location: In debtor's possession


                                                   ipad                                                                                          $350.00
                                                   Location: In debtor's possession


29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of   3                                                                                     Total                            $4,350.00
                                                                                                                 (Report total also on Summary of Schedules.)
                                                                                                       Include amounts from any continuation sheets attached.
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In re
        Zabrin Inan                                                                            ,                  Case No.
                                       Debtor(s)                                                                                                   (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


TCF checking                                        735 ILCS 5/12-1001(b)                                          $ 100.00                     $ 100.00

misc household goods and                            735 ILCS 5/12-1001(b)                                       $ 1,000.00                $ 1,000.00
furnishings

Reference Books                                     735 ILCS 5/12-1001(a)                                       $ 1,000.00                $ 1,000.00

Necessary clothing                                  735 ILCS 5/12-1001(a)                                          $ 500.00                     $ 500.00

2 exercise machines                                 735 ILCS 5/12-1001(b)                                          $ 600.00                     $ 600.00

2 old laptops and printer                           735 ILCS 5/12-1001(b)                                          $ 600.00                     $ 600.00

iiphone 5s                                          735 ILCS 5/12-1001(b)                                          $ 200.00                     $ 200.00

ipad                                                735 ILCS 5/12-1001(b)                                          $ 350.00                     $ 350.00




    Page No.      1 of       1

* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)



In re Zabrin Inan                                                                                   ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:




                                                                 Value:
Account No:




                                                                 Value:
No continuation sheets attached                                                                                Subtotal $                           $ 0.00                          $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                        $ 0.00                          $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                                                                                                                                                                Certain Liabilities and
                                                                                                                                                                Related Data)
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In re Zabrin Inan                                                                                        ,                             Case No.
                                            Debtor(s)                                                                                                       (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      1 No continuation sheets attached
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In re Zabrin Inan                                                                                                             ,                             Case No.
                                             Debtor(s)                                                                                                                             (if known)

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                             (Continuation Sheet)
Type of Priority for Claims Listed on This Sheet:              Taxes and Certain Other Debts Owed to Governmental Units

     Creditor's Name, Mailing Address                                        Date Claim was Incurred and                                              Amount of      Amount       Amount not
                                                                               Consideration for Claim                                                 Claim        Entitled to   Entitled to
               Including ZIP Code,                                                                                                                                   Priority      Priority,




                                                                                                                                      Unliquidated
                                                                                                                                      Contingent
              and Account Number

                                                         Co-Debtor
                                                                                                                                                                                    if any




                                                                                                                                      Disputed
                                                                     H--Husband
              (See instructions above.)                              W--Wife
                                                                     J--Joint
                                                                     C--Community

Account No:                                                            2013                                                                           $ 1,633.00 $ 1,633.00            $ 0.00
Creditor # : 1                                                         Past due taxes
Illinois Department of Revenue
Attn: Installment Contract Uni
P.O. Box 19035
Springfield IL 62794



Account No:                                                            2008-2012                                                                     $ 37,149.96 $ 37,149.96           $ 0.00
Creditor # : 2                                                         Past due taxes
Internal Revenue Service
Insolvency Section
P.O. Box 7346
Philadelphia PA 19101-7346



Account No:
       6377                                                            06/24/14                                                                      $ 29,130.93 $ 29,130.93           $ 0.00
Creditor # : 3
Sallie Mae Inc.
c/o Allied Interstate LLC
P.O. Box 361347
Columbus OH 43236



Account No:




Account No:




Sheet No.                                                                                                                         Subtotal $           67,913.89    67,913.89            0.00
               1 of         1      continuation sheets                                                                      (Total of this page)
attached to Schedule of Creditors Holding Priority Claims                                                                            Total $
                                                                       (Use only on last page of the com pleted Schedule E. Report total also          67,913.89
                                                                                                                 on Sum m ary of Schedules)

                                                                                                                                     Total $
                                                                          (Use only on last page of the com pleted Schedule E. If applicable,                       67,913.89            0.00
                                                                            report also on the Statistical Sum m ary of Certain Liabilities and
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In re Zabrin Inan                                                                                                 ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                                                                                                                                                          $ 94,977.61
Creditor # : 1
Abelski & Associates, Ltd.
c/o Sidney Abelski
180 N. Michigan Ave., Ste 1800
Chicago IL 60601


          3071
Account No:                                                             2002-07-12                                                                                                                  $ 172,559.00
Creditor # : 2
Acs/idapp
C/o Acs 501 Bleeker Street
Utica NY 13501



          9400
Account No:                                                             2012-02-08                                                                                                                    $ 1,066.00
Creditor # : 3
Advanced Radiology C




   19 continuation sheets attached                                                                                                                  Subtotal $                                     $ 268,602.61
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
Account No:     9400
Representing:                                                          ILLINOIS COLLECTION SE
                                                                       8231 185TH ST STE 100
                                                                       TINLEY PARK IL 60487
Advanced Radiology C



          6937
Account No:                                                            2011-12-27                                                                                                                    $ 3,762.00
Creditor # : 4
Advocate Lutheran General
Hospital
1775 Dempster St
Park Ridge IL 60068


Account No:     6937
Representing:                                                          HARRIS & HARRIS LTD
                                                                       111 W JACKSON BLVD S-400
                                                                       CHICAGO IL 60604
Advocate Lutheran General Hospital



          7229
Account No:                                                            2011-10-10                                                                                                                    $ 7,104.00
Creditor # : 5
Advocate Lutheran General
Hospital
1775 Dempster St
Park Ridge IL 60068


Account No:     7229
Representing:                                                          HARRIS & HARRIS LTD
                                                                       111 W JACKSON BLVD S-400
                                                                       CHICAGO IL 60604
Advocate Lutheran General Hospital




Sheet No.      1 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 10,866.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Zabrin Inan                                                                                                 ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          7349
Account No:                                                            06/07/11                                                                                                                          $ 485.00
Creditor # : 6
Advocate Medical Group, S.C.
701 Lee St.
Suite 300
Des Plaines IL 60016


Account No:                                                        W                                                                                                                                  $ 1,500.00
Creditor # : 7                                                          Child support
Andrew W. Lynch III
14 West Elm
Chicago IL 60611



Account No:                                                                                                                                                                                          $ 12,168.78
Creditor # : 8
Anthony M. Monemurro & James L.
Flood
6097 N. Northwest Highway
Chicago IL 60631


Account No:                                                                                                                                                                                               Unknown
Creditor # : 9
Bank of America
Legal Processing
5701 Horatio St.
Utica NY 13502-1024


          7904
Account No:                                                            2009-10-20                                                                                                                     $ 5,416.00
Creditor # : 10
Bmo Harris Bank
Po Box 94034
Palatine IL 60094




Sheet No.      2 of      19 continuation sheets attached to Schedule of                                                                             Subtotal $                                       $ 19,569.78
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                         Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                 ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          6068
Account No:                                                            2011-10-11                                                                                                                        $ 443.00
Creditor # : 11
BMO Harris Bank, NA
111 W. Monroe
Chicago IL 60603



Account No:     6068
Representing:                                                          FIRST FINANCIAL RESOUR
                                                                       209 W CENTRAL ST STE 107
                                                                       NATICK MA 01760
BMO Harris Bank, NA



          0765
Account No:                                                        J   2008-04-01                                                                                                                     $ 1,102.00
Creditor # : 12
Cbna
Po Box 769006
San Antonio TX 78245



          7547
Account No:                                                            2011-11-28                                                                                                                     $ 1,554.00
Creditor # : 13
CHASE
800 Brooksedge Blvd
Westerville OH 43081



Account No:     7547
Representing:                                                          MIDLAND FUNDING
                                                                       8875 AERO DR STE 200
                                                                       SAN DIEGO CA 92123
CHASE




Sheet No.      3 of      19 continuation sheets attached to Schedule of                                                                             Subtotal $                                        $ 3,099.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          6784
Account No:                                                            2011-12-29                                                                                                                       $ 104.00
Creditor # : 14
Chicago Imaging Asso




Account No:     6784
Representing:                                                          MERCHANTS CREDIT GUIDE
                                                                       223 W JACKSON BLVD STE 4
                                                                       CHICAGO IL 60606
Chicago Imaging Asso



          8047
Account No:                                                            01/06/14                                                                                                                         $ 619.00
Creditor # : 15
Chicago Northside MRI Center
8930 Waukegan Road
Suite 130
Morton Grove IL 60123


          1547
Account No:                                                            11/04/10                                                                                                                     $ 28,000.74
Creditor # : 16                                                        lawsuit
Citibank
COLLECTIONS
P.O. BOX 20432
Kansas City MO 64195


Account No:     1547
Representing:                                                          Blitt & Gaines, P.C.
                                                                       661 Glenn Ave.
                                                                       Wheeling IL 60090
Citibank




Sheet No.      4 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 28,723.74
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          0879
Account No:                                                                                                                                                                                          $ 1,221.00
Creditor # : 17
Citibank
701 E. 60TH ST. NORTH
Sioux Falls SD 57104



Account No:     0879
Representing:                                                          Northland Group
                                                                       P.O. Box 390905
                                                                       Minneapolis MN 55439
Citibank



Account No:                                                                                                                                                                                         $ 20,000.00
Creditor # : 18
Columbus Plaza
233 E. Wacker Dr.
84th Fl.
Chicago IL 60601


          4958
Account No:                                                            2012-04-01                                                                                                                       $ 660.00
Creditor # : 19
COMED
2100 SWIFT DRIVE
Oak Brook IL 60523



Account No:     4958
Representing:                                                          CCI
                                                                       2915 PROFESSIONAL PARKWAY
                                                                       AUGUSTA GA 30907-3540
COMED




Sheet No.      5 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 21,881.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          9056
Account No:                                                            04/05/10                                                                                                                         $ 542.34
Creditor # : 20
Commonweatlh Edison
PO BOX 286
Chicago IL 60690



Account No:                                                                                                                                                                                             $ 206.03
Creditor # : 21
Davinci Virtual Office
2150 South 1300 East
Suite 300
Salt Lake City UT 84106


Account No:

Representing:                                                          Merrick, Costello & Walsh, LLC
                                                                       P.O. Box 1689
                                                                       Dover DE 19903
Davinci Virtual Office



Account No:                                                                                                                                                                                              Unknown
Creditor # : 22
Devon Bank
6445 N Western Ave #1
Chicago IL 60645



          9735
Account No:                                                                                                                                                                                          $ 1,000.00
Creditor # : 23
EARly Intervention
Central Billing Office
PO Box 409168
Chicago IL 60640




Sheet No.      6 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,748.37
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          5049
Account No:                                                            2013-09-04                                                                                                                   $ 12,907.00
Creditor # : 24
Fia Card Services                N
PO Box 982235
El Paso TX 79998



Account No:     5049
Representing:                                                          MIDLAND FUNDING
                                                                       8875 AERO DR STE 200
                                                                       SAN DIEGO CA 92123
Fia Card Services                N



          5807
Account No:                                                            2013-08-08                                                                                                                   $ 27,644.00
Creditor # : 25
Fia Card Services                N
PO Box 982235
El Paso TX 79998



Account No:     5807
Representing:                                                          MIDLAND FUNDING
                                                                       8875 AERO DR STE 200
                                                                       SAN DIEGO CA 92123
Fia Card Services                N



          5899
Account No:                                                            09/12/12                                                                                                                         $ 154.00
Creditor # : 26
IL Bone & Joint Institute
5057 PAYSPHERE CIRCLE
Chicago IL 60674




Sheet No.      7 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 40,705.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          8/02
Account No:                                                                                                                                                                                             $ 500.00
Creditor # : 27
ILLINOIS DEPARTMENT OF Human
Services
222 S. College
2nd Floor
Springfield IL 62794-9429

          8/01
Account No:                                                                                                                                                                                          $ 1,000.00
Creditor # : 28
ILLINOIS DEPARTMENT OF Human
Services
222 S. College
2nd Floor
Springfield IL 62794-9429

          0000
Account No:                                                                                                                                                                                             $ 409.22
Creditor # : 29
Jovan Cupic
8800 N. Lockwood
Skokie IL 60077



          3181
Account No:                                                            12/10/12                                                                                                                      $ 8,400.00
Creditor # : 30                                                        lawsuit
Judith Louis




Account No:     3181
Representing:                                                          Robins & Associates LLC
                                                                       33 N. Dearborn St., Suite 500
                                                                       Chicago IL 60602
Judith Louis




Sheet No.      8 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 10,309.22
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          6454
Account No:                                                            07/12/12                                                                                                                      $ 5,100.00
Creditor # : 31                                                        lawsuit
Kim Han Jung




Account No:     6454
Representing:                                                          John L. Elias and Associates
                                                                       8 S. Michigan Ave.
                                                                       Suite 2800
Kim Han Jung                                                           Chicago IL 60603



          2337
Account No:                                                            02/03/14                                                                                                                          $ 94.00
Creditor # : 32
Kovach Eye Institute, LTD
152 N. Addison Ave.
1st Floor
Elmhurst IL 60126


Account No:                                                                                                                                                                                             $ 128.35
Creditor # : 33
Kurt Bexheti
1000 N. Lake Shore Plaza
Chicago IL 60611



Account No:                                                                                                                                                                                         $ 10,000.00
Creditor # : 34
Law Offices of Goldberg Law
Group
120 South Riverside Plaza
Suite 1675
Chicago IL 60606




Sheet No.      9 of      19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 15,322.35
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          4483
Account No:                                                            04/16/14                                                                                                                      $ 1,132.70
Creditor # : 35
LifeStorage of Morton Grove
6505 Oakton St.
Morton Grove IL 60053



          5700
Account No:                                                            03/03/14                                                                                                                         $ 187.00
Creditor # : 36
LINCOLN PARK DTL SPEC, LTD
1960 N. Lincoln Park West
Chicago IL 60614



Account No:                                                                                                                                                                                          $ 1,580.54
Creditor # : 37
LINDEN OAKS HOSPITAL
852 WEST STREET
Naperville IL 60540



          0176
Account No:                                                            2010-06-21                                                                                                                   $ 11,937.00
Creditor # : 38
Mbna America Na




Account No:     0176
Representing:                                                          CACH, LLC
                                                                       4340 S MONACO ST UNIT 2
                                                                       DENVER CO 80237
Mbna America Na




Sheet No. 10 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 14,837.24
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          2091
Account No:                                                            09/02/10                                                                                                                      $ 4,516.86
Creditor # : 39                                                        lawsuit
Medical Financial




Account No:     2091
Representing:                                                          Larry A. Chambers LTD.
                                                                       3856 Oakton St.
                                                                       Skokie IL 60076
Medical Financial



          230X
Account No:                                                            10/15/13                                                                                                                         $ 246.00
Creditor # : 40
Michigan Avenue Immediate Care
180 N. Michigan Ave.
Suite 1605
Chicago IL 60601


          310X
Account No:                                                            03/18/13 - 03/25/13                                                                                                           $ 1,383.07
Creditor # : 41
Naperville Psychiatrist




          3085
Account No:                                                            11/2013                                                                                                                          $ 230.00
Creditor # : 42
Nora Medical Group
6969 N. Lincoln Ave.
Lincolnwood IL 60712




Sheet No. 11 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 6,375.93
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          0450
Account No:                                                            11/5/10                                                                                                                           $ 24.80
Creditor # : 43
NORTHWESTERN MED F F
38693 Eagle Way
Chicago IL 60678



Account No:                                                            09/2011                                                                                                                          $ 647.00
Creditor # : 44
Northwestern Memorial Hospital
251 E Huron St
billiing department
Chicago IL 60611


          3497
Account No:                                                            09/26/10                                                                                                                          $ 75.00
Creditor # : 45
Northwestern Memorial Physicians
Group
75 Remittance Drive #1293
Chicago IL 60675-1293


          3497
Account No:                                                            08/26/10                                                                                                                          $ 75.00
Creditor # : 46
Northwestern Memorial Physicians
Group
75 Remittance Drive #1293
Chicago IL 60675-1293


Account No:                                                                                                                                                                                             $ 500.00
Creditor # : 47
Oak Tree Developmental Center
1640 N. Wells St. #103
Chicago IL 60614




Sheet No. 12 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,321.80
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
Account No:                                                                                                                                                                                         $ 35,850.55
Creditor # : 48
Palmisano Law Group
10760 W. 143rd St.
Suite 63
Orland Park IL 60462


          1016
Account No:                                                            2012-04-30                                                                                                                    $ 1,572.00
Creditor # : 49
Presence Our Lady Of
Resurrection
5645 West Addison Street
Chicago IL 60634


Account No:     1016
Representing:                                                          ILLINOIS COLLECTION SE
                                                                       8231 185TH ST STE 100
                                                                       TINLEY PARK IL 60487
Presence Our Lady Of Resurrection



          XXXX
Account No:                                                            03/04/13 - 03/05/13                                                                                                              $ 817.51
Creditor # : 50
Presence Our Lady Of
Resurrection
5645 West Addison Street
Chicago IL 60634


Account No:     XXXX
Representing:                                                          ILLINOIS COLLECTION SE
                                                                       8231 185TH ST STE 100
                                                                       Tinley Park IL 60487
Presence Our Lady Of Resurrection




Sheet No. 13 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 38,240.06
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          430X
Account No:                                                            03/12/13 - 03/18/13                                                                                                           $ 1,580.00
Creditor # : 51
Presence Our Lady Of
Resurrection
5645 West Addison Street
Chicago IL 60634


Account No:     430X
Representing:                                                          ILLINOIS COLLECTION SE
                                                                       8231 185TH ST STE 100
                                                                       Tinley Park IL 60487
Presence Our Lady Of Resurrection



          F30X
Account No:                                                            07/06/14 - 07/07/14                                                                                                              $ 239.00
Creditor # : 52
Presence St. Joseph Hospital
2913 N Commonwealth Ave,
Chicago IL 60657



          B90X
Account No:                                                            07/09/14 - 08/09/14                                                                                                           $ 6,467.00
Creditor # : 53
Presence St. Joseph Hospital
2913 N Commonwealth Ave,
Chicago IL 60657



          0Q0X
Account No:                                                            11/19/13 - 11/26/13                                                                                                           $ 3,415.35
Creditor # : 54
Presence St. Joseph Hospital
2913 N Commonwealth Ave,
Chicago IL 60657




Sheet No. 14 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 11,701.35
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          600X
Account No:                                                            02/05/14                                                                                                                          $ 13.00
Creditor # : 55
Primary Care Medical Associates,
Ltd




          1043
Account No:                                                            01/01/13                                                                                                                         $ 216.00
Creditor # : 56
Public Storage Inc
4072 N. Broadway St.
Chicago IL 60613



          3690
Account No:                                                            2014-05-06                                                                                                                       $ 825.00
Creditor # : 57
Recovery Partners                L




Account No:     3690
Representing:                                                          RECOVERY PARTNERS LLC
                                                                       4151 N MARSHALL WAY STE
                                                                       SCOTTSDALE AZ 85251
Recovery Partners                L



Account No:                                                                                                                                                                                              Unknown
Creditor # : 58
Regus USA
15305 Dallas Pkwy #400
Addison TX 75001




Sheet No. 15 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,054.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          3583
Account No:                                                            06/17/10                                                                                                                      $ 8,800.00
Creditor # : 59                                                        lawsuit
Resiman Robert




Account No:     3583
Representing:                                                          Sanford Kahn, Ltd.
                                                                       180 N. LaSalle St.
                                                                       Suite 2025
Resiman Robert                                                         Chicago IL 60601



Account No:                                                                                                                                                                                        $ 253,000.00
Creditor # : 60                                                        loans
Sabit Inan
1000 N. Lake Shore Drive
Unit 308
Chicago IL 60611


          9330
Account No:                                                            12/16/11                                                                                                                      $ 2,033.57
Creditor # : 61                                                        lawsuit
Saint Hospital




Account No:     9330
Representing:                                                          James T. Gately Law Office
                                                                       8233 185th St.
                                                                       Tinley Park IL 60487
Saint Hospital




Sheet No. 16 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 263,833.57
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
          0258
Account No:                                                            1993-10-22                                                                                                                   $ 10,602.00
Creditor # : 62
Sallie Mae
Po Box 9655
Wilkes-barre PA 18773



          0522
Account No:                                                            1991-05-22                                                                                                                    $ 9,788.00
Creditor # : 63
Slm Financial Corp
11100 Usa Pkwy
Fishers IN 46037



          0909
Account No:                                                            1991-09-09                                                                                                                    $ 3,317.00
Creditor # : 64
Slm Financial Corp
11100 Usa Pkwy
Fishers IN 46037



          1219
Account No:                                                            1990-12-19                                                                                                                    $ 2,680.00
Creditor # : 65
Slm Financial Corp
11100 Usa Pkwy
Fishers IN 46037



          0819
Account No:                                                            1991-08-19                                                                                                                    $ 2,982.00
Creditor # : 66
Slm Financial Corp
11100 Usa Pkwy
Fishers IN 46037




Sheet No. 17 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 29,369.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
                    Case 14-40064              Doc 1                Filed 11/04/14 Entered 11/04/14 12:25:11                                                                        Desc Main
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
Account No:     T70X                                                   03/18/13                                                                                                                         $ 639.25
Creditor       # : 67
SUPERIOR       AIR-GROUND AMBULANCE
395 WEST       LAKE STREET
P.O. BOX       1407
ELMHURST       IL 60126


          8846
Account No:                                                            2011-10-31                                                                                                                       $ 320.00
Creditor # : 68
T MOBILE USA, INC.
T Mobile Bankruptcy
P O Box 37380
Albuquerque NM 87176


Account No:     8846
Representing:                                                          MIDLAND FUNDING
                                                                       8875 AERO DR STE 200
                                                                       SAN DIEGO CA 92123
T MOBILE USA, INC.



          8501
Account No:                                                                                                                                                                                             $ 908.00
Creditor # : 69
THE Pediatric Faculty Foundation
PO Box 4051
Carol Stream IL 60122-4051



          9203
Account No:                                                                                                                                                                                              $ 81.30
Creditor # : 70
Travelers Insurance
Subro Auto 9048
One Tower Square
Hartford CT 06183




Sheet No. 18 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,948.55
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6F (Official Form 6F) (12/07)   - Cont.


In re Zabrin Inan                                                                                                ,                                   Case No.
                                           Debtor(s)                                                                                                                                                     (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




         Creditor's Name, Mailing Address                                   Date Claim was Incurred,                                                                                           Amount of Claim
                                                                            and Consideration for Claim.




                                                                                                                                                                     Unliquidated
                                                       Co-Debtor
                  including Zip Code,




                                                                                                                                                      Contingent
                                                                             If Claim is Subject to Setoff, so State.




                                                                                                                                                                                    Disputed
                 And Account Number
                                                                   H--Husband
                 (See instructions above.)                         W--Wife
                                                                   J--Joint
                                                                   C--Community
Account No:     9203
Representing:                                                          Credit Collection Services
                                                                       Two Wells Avenue
                                                                       Newton Center MA 02459
Travelers Insurance



          8528
Account No:                                                                                                                                                                                             $ 500.00
Creditor # : 71
USA FUNDS, INC.
P.O. BOX 6180
INDIANAPOLIS IN 46206-6180



Account No:     8528
Representing:                                                          Premiere Credit of N. America
                                                                       P.O. Box 19309
                                                                       Indianapolis IN 46219
USA FUNDS, INC.



Account No:                                                                                                                                                                                          $ 1,383.07
Creditor # : 72
YR Medical Group
852 West Street
Naperville IL 60540



Account No:                                                                                                                                                                                              Unknown
Creditor # : 73
Ziegler Jeep
208 W Golf Rd
Schaumburg IL 60195




Sheet No. 19 of          19 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,883.07
Creditors Holding Unsecured Nonpriority Claims                                                                                                                     Total $
                                                                              (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 791,391.64
                                                                      Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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B6G (Official Form 6G) (12/07)                    Doc 1         Filed 11/04/14 Entered 11/04/14 12:25:11                                    Desc Main
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In re Zabrin Inan                                                                                              / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
                    Case 14-40064
B6H (Official Form 6H) (12/07)                 Doc 1   Filed 11/04/14 Entered 11/04/14 12:25:11                       Desc Main
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In re Zabrin Inan                                                                             / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




                                                                                                                                  Page    1 of       1
                  Case 14-40064            Doc 1          Filed 11/04/14 Entered 11/04/14 12:25:11                           Desc Main
                                                           Document     Page 40 of 68
 Fill in this information to identify your case:

                     Zabrin Inan
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name

                                           NORTHERN
  United States Bankruptcy Court for the: ________________              ILLINOIS
                                                           District of ______________________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing post-petition
                                                                                                        chapter 13 income as of the following date:
                                                                                                        ________________
Official Form %6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔
    information about additional         Employment status             Employed                                         Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address        _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.              0.00                   0.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                            3.            0.00
                                                                                            + $___________        +           0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.              0.00
                                                                                                $__________                   0.00
                                                                                                                      $____________



Official Form %6I                                              Schedule I: Your Income                                                       page 1
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                  Zabrin Inan
                                                                       Document     Page 41 of 68
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.             0.00
                                                                                                                         $___________                     0.00
                                                                                                                                                 $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5d. Required repayments of retirement fund loans                                                           5d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5e. Insurance                                                                                              5e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5f. Domestic support obligations                                                                           5f.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
                                                                                                                                0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5g. Union dues                                                                                             5g.
     5h. Other deductions. Specify: __________________________________                                          5h.              0.00
                                                                                                                       + $____________       +             0.00
                                                                                                                                                 $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                      0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8e. Social Security                                                                                        8e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                 0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________
                                                                                                                                 0.00                   0.00
                                                                                                                                             + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                              0.00                                      0.00
                                                                                                                        $___________     +                0.00 = $_____________
                                                                                                                                                 $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.               0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                0.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


Official Form %6I                                                                Schedule I: Your Income                                                                 page 2
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West Group, Rochester, NY              Doc 1   Filed 11/04/14 Entered 11/04/14 12:25:11     Desc Main
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                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION
In re     Zabrin Inan                                                        Case No.
                                                                             Chapter:   7
___________________________________________________________/Debtor(s)
Attorney For Debtor: MICHAEL R. RICHMOND


                                                   LIST OF CREDITORS

                                                                                             C
   #                        CREDITOR                         CLAIM AND SECURITY              D       CLAIM AMOUNT
                                                                                             S
                                                                                             U

        1 Abelski & Associates, Ltd.                                                                      $ 94,977.61
          c/o Sidney Abelski
          180 N. Michigan Ave., Ste 1800
          Chicago, IL 60601



        2 Acs/idapp                                                                                      $ 172,559.00
          C/o Acs 501 Bleeker Street
          Utica, NY 13501




        3 Advanced Radiology C                                                                              $ 1,066.00




        4 Advocate Lutheran General                                                                         $ 3,762.00
          Hospital
          1775 Dempster St
          Park Ridge, IL 60068



        5 Advocate Lutheran General                                                                         $ 7,104.00
          Hospital
          1775 Dempster St
          Park Ridge, IL 60068



        6 Advocate Medical Group, S.C.                                                                            $ 485.00
          701 Lee St.
          Suite 300
          Des Plaines, IL 60016




                                                                                            Creditor List--Page    1   of   10
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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

       7 Andrew W. Lynch III                       Child support                                          $ 1,500.00
         14 West Elm
         Chicago, IL 60611




       8 Anthony M. Monemurro & James L.                                                                $ 12,168.78
         Flood
         6097 N. Northwest Highway
         Chicago, IL 60631



       9 Bank of America                                                                                         Unknown
         Legal Processing
         5701 Horatio St.
         Utica, NY 13502-1024



    10 Bmo Harris Bank                                                                                    $ 5,416.00
       Po Box 94034
       Palatine, IL 60094




    11 BMO Harris Bank, NA                                                                                      $ 443.00
       111 W. Monroe
       Chicago, IL 60603




    12 Cbna                                                                                               $ 1,102.00
       Po Box 769006
       San Antonio, TX           78245




    13 CHASE                                                                                              $ 1,554.00
       800 Brooksedge Blvd
       Westerville, OH 43081




    14 Chicago Imaging Asso                                                                                     $ 104.00




                                                                                          Creditor List--Page    2   of   10
               Case 14-40064
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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    15 Chicago Northside MRI Center                                                                             $ 619.00
       8930 Waukegan Road
       Suite 130
       Morton Grove, IL 60123



    16 Citibank                                    lawsuit                                              $ 28,000.74
       COLLECTIONS
       P.O. BOX 20432
       Kansas City, MO           64195



    17 Citibank                                                                                           $ 1,221.00
       701 E. 60TH ST. NORTH
       Sioux Falls, SD 57104




    18 Columbus Plaza                                                                                   $ 20,000.00
       233 E. Wacker Dr.
       84th Fl.
       Chicago, IL 60601



    19 COMED                                                                                                    $ 660.00
       2100 SWIFT DRIVE
       Oak Brook, IL 60523




    20 Commonweatlh Edison                                                                                      $ 542.34
       PO BOX 286
       Chicago, IL 60690




    21 Davinci Virtual Office                                                                                   $ 206.03
       2150 South 1300 East
       Suite 300
       Salt Lake City, UT 84106



    22 Devon Bank                                                                                                Unknown
       6445 N Western Ave #1
       Chicago, IL 60645




                                                                                          Creditor List--Page    3   of   10
               Case 14-40064
West Group, Rochester, NY              Doc 1   Filed 11/04/14 Entered 11/04/14 12:25:11   Desc Main
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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    23 EARly Intervention                                                                                 $ 1,000.00
       Central Billing Office
       PO Box 409168
       Chicago, IL 60640



    24 Fia Card Services N                                                                              $ 27,644.00
       PO Box 982235
       El Paso, TX 79998




    25 Fia Card Services N                                                                              $ 12,907.00
       PO Box 982235
       El Paso, TX 79998




    26 IL Bone & Joint Institute                                                                                $ 154.00
       5057 PAYSPHERE CIRCLE
       Chicago, IL 60674




    27 ILLINOIS DEPARTMENT OF Human                                                                       $ 1,000.00
       Services
       222 S. College
       2nd Floor
       Springfield, IL 62794-9429

    28 ILLINOIS DEPARTMENT OF Human                                                                             $ 500.00
       Services
       222 S. College
       2nd Floor
       Springfield, IL 62794-9429

    29 Illinois Department of Revenue              Debts to Government - §507(a)(8)                       $ 1,633.00
       Attn: Installment Contract Uni              Past due taxes
       P.O. Box 19035
       Springfield, IL 62794



    30 Internal Revenue Service                    Debts to Government - §507(a)(8)                     $ 37,149.96
       Insolvency Section                          Past due taxes
       P.O. Box 7346
       Philadelphia, PA 19101-7346




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West Group, Rochester, NY              Doc 1   Filed 11/04/14 Entered 11/04/14 12:25:11   Desc Main
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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    31 Jovan Cupic                                                                                              $ 409.22
       8800 N. Lockwood
       Skokie, IL 60077




    32 Judith Louis                                lawsuit                                                $ 8,400.00




    33 Kim Han Jung                                lawsuit                                                $ 5,100.00




    34 Kovach Eye Institute, LTD                                                                                 $ 94.00
       152 N. Addison Ave.
       1st Floor
       Elmhurst, IL 60126



    35 Kurt Bexheti                                                                                             $ 128.35
       1000 N. Lake Shore Plaza
       Chicago, IL 60611




    36 Law Offices of Goldberg Law                                                                      $ 10,000.00
       Group
       120 South Riverside Plaza
       Suite 1675
       Chicago, IL 60606

    37 LifeStorage of Morton Grove                                                                        $ 1,132.70
       6505 Oakton St.
       Morton Grove, IL 60053




    38 LINCOLN PARK DTL SPEC, LTD                                                                               $ 187.00
       1960 N. Lincoln Park West
       Chicago, IL 60614




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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    39 LINDEN OAKS HOSPITAL                                                                               $ 1,580.54
       852 WEST STREET
       Naperville, IL 60540




    40 Mbna America Na                                                                                  $ 11,937.00




    41 Medical Financial                           lawsuit                                                $ 4,516.86




    42 Michigan Avenue Immediate Care                                                                           $ 246.00
       180 N. Michigan Ave.
       Suite 1605
       Chicago, IL 60601



    43 Naperville Psychiatrist                                                                            $ 1,383.07




    44 Nora Medical Group                                                                                       $ 230.00
       6969 N. Lincoln Ave.
       Lincolnwood, IL 60712




    45 NORTHWESTERN MED F F                                                                                      $ 24.80
       38693 Eagle Way
       Chicago, IL 60678




    46 Northwestern Memorial Hospital                                                                           $ 647.00
       251 E Huron St
       billiing department
       Chicago, IL 60611




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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    47 Northwestern Memorial                                                                                     $ 75.00
       Physicians Group
       75 Remittance Drive #1293
       Chicago, IL 60675-1293



    48 Northwestern Memorial                                                                                     $ 75.00
       Physicians Group
       75 Remittance Drive #1293
       Chicago, IL 60675-1293



    49 Oak Tree Developmental Center                                                                            $ 500.00
       1640 N. Wells St. #103
       Chicago, IL 60614




    50 Palmisano Law Group                                                                              $ 35,850.55
       10760 W. 143rd St.
       Suite 63
       Orland Park, IL 60462



    51 Presence Our Lady Of                                                                                     $ 817.51
       Resurrection
       5645 West Addison Street
       Chicago, IL 60634



    52 Presence Our Lady Of                                                                               $ 1,580.00
       Resurrection
       5645 West Addison Street
       Chicago, IL 60634



    53 Presence Our Lady Of                                                                               $ 1,572.00
       Resurrection
       5645 West Addison Street
       Chicago, IL 60634



    54 Presence St. Joseph Hospital                                                                       $ 6,467.00
       2913 N Commonwealth Ave,
       Chicago, IL 60657




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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    55 Presence St. Joseph Hospital                                                                       $ 3,415.35
       2913 N Commonwealth Ave,
       Chicago, IL 60657




    56 Presence St. Joseph Hospital                                                                             $ 239.00
       2913 N Commonwealth Ave,
       Chicago, IL 60657




    57 Primary Care Medical                                                                                      $ 13.00
       Associates, Ltd




    58 Public Storage Inc                                                                                       $ 216.00
       4072 N. Broadway St.
       Chicago, IL 60613




    59 Recovery Partners          L                                                                             $ 825.00




    60 Regus USA                                                                                                 Unknown
       15305 Dallas Pkwy #400
       Addison, TX 75001




    61 Resiman Robert                              lawsuit                                                $ 8,800.00




    62 Sabit Inan                                  loans                                               $ 253,000.00
       1000 N. Lake Shore Drive
       Unit 308
       Chicago, IL 60611




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               Case 14-40064
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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    63 Saint Hospital                              lawsuit                                                $ 2,033.57




    64 Sallie Mae                                                                                       $ 10,602.00
       Po Box 9655
       Wilkes-barre, PA          18773




    65 Sallie Mae Inc.                             Debts to Government - §507(a)(8)                     $ 29,130.93
       c/o Allied Interstate LLC
       P.O. Box 361347
       Columbus, OH 43236



    66 Slm Financial Corp                                                                                 $ 2,982.00
       11100 Usa Pkwy
       Fishers, IN 46037




    67 Slm Financial Corp                                                                                 $ 3,317.00
       11100 Usa Pkwy
       Fishers, IN 46037




    68 Slm Financial Corp                                                                                 $ 9,788.00
       11100 Usa Pkwy
       Fishers, IN 46037




    69 Slm Financial Corp                                                                                 $ 2,680.00
       11100 Usa Pkwy
       Fishers, IN 46037




    70 SUPERIOR AIR-GROUND AMBULANCE                                                                            $ 639.25
       395 WEST LAKE STREET
       P.O. BOX 1407
       ELMHURST, IL 60126




                                                                                          Creditor List--Page    9   of   10
               Case 14-40064
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                                                    LIST OF CREDITORS
                                                      (Continuation Sheet)
                                                                                           C
   #                        CREDITOR                           CLAIM AND SECURITY          D       CLAIM AMOUNT
                                                                                           S
                                                                                           U

    71 T MOBILE USA, INC.                                                                                       $ 320.00
       T Mobile Bankruptcy
       P O Box 37380
       Albuquerque, NM 87176



    72 THE Pediatric Faculty                                                                                    $ 908.00
       Foundation
       PO Box 4051
       Carol Stream, IL 60122-4051



    73 Travelers Insurance                                                                                       $ 81.30
       Subro Auto 9048
       One Tower Square
       Hartford, CT 06183



    74 USA FUNDS, INC.                                                                                          $ 500.00
       P.O. BOX 6180
       INDIANAPOLIS, IN           46206-6180




    75 YR Medical Group                                                                                   $ 1,383.07
       852 West Street
       Naperville, IL 60540




    76 Ziegler Jeep                                                                                              Unknown
       208 W Golf Rd
       Schaumburg, IL           60195




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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


In re Zabrin Inan                                                                         Case No.
                                                                                          Chapter 7
                                                                            / Debtor
    Attorney for Debtor:   MICHAEL R. RICHMOND



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 9/23/2014                                                    /s/ Zabrin Inan
                                                                   Debtor
Case 14-40064   Doc 1   Filed 11/04/14   Entered 11/04/14 12:25:11   Desc Main
                  Abelski & Associates,
                        Document     PageLtd.
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                  c/o Sidney Abelski
                  180 N. Michigan Ave., Ste 1800
                  Chicago, IL 60601

                  Acs/idapp
                  C/o Acs 501 Bleeker Street
                  Utica, NY 13501

                  Advanced Radiology C

                  Advocate Lutheran General Hospital
                  1775 Dempster St
                  Park Ridge, IL 60068

                  Advocate Medical Group, S.C.
                  701 Lee St.
                  Suite 300
                  Des Plaines, IL 60016

                  Andrew W. Lynch III
                  14 West Elm
                  Chicago, IL 60611

                  Anthony M. Monemurro & James L. Flood
                  6097 N. Northwest Highway
                  Chicago, IL 60631

                  Bank of America
                  Legal Processing
                  5701 Horatio St.
                  Utica, NY 13502-1024

                  Blitt & Gaines, P.C.
                  661 Glenn Ave.
                  Wheeling, IL 60090

                  Bmo Harris Bank
                  Po Box 94034
                  Palatine, IL 60094

                  BMO Harris Bank, NA
                  111 W. Monroe
                  Chicago, IL 60603

                  CACH, LLC
                  4340 S MONACO ST UNIT 2
                  DENVER, CO 80237

                  Cbna
                  Po Box 769006
                  San Antonio, TX    78245

                  CCI
                  2915 PROFESSIONAL PARKWAY
                  AUGUSTA, GA 30907-3540

                  CHASE
                  800 Brooksedge Blvd
                  Westerville, OH 43081
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                  Chicago Imaging Asso
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                  Chicago Northside MRI Center
                  8930 Waukegan Road
                  Suite 130
                  Morton Grove, IL 60123

                  Citibank
                  COLLECTIONS
                  P.O. BOX 20432
                  Kansas City, MO    64195

                  Citibank
                  701 E. 60TH ST. NORTH
                  Sioux Falls, SD 57104

                  Columbus Plaza
                  233 E. Wacker Dr.
                  84th Fl.
                  Chicago, IL 60601

                  COMED
                  2100 SWIFT DRIVE
                  Oak Brook, IL 60523

                  Commonweatlh Edison
                  PO BOX 286
                  Chicago, IL 60690

                  Credit Collection Services
                  Two Wells Avenue
                  Newton Center, MA 02459

                  Davinci Virtual Office
                  2150 South 1300 East
                  Suite 300
                  Salt Lake City, UT 84106

                  Devon Bank
                  6445 N Western Ave #1
                  Chicago, IL 60645

                  EARly Intervention
                  Central Billing Office
                  PO Box 409168
                  Chicago, IL 60640

                  Fia Card Services N
                  PO Box 982235
                  El Paso, TX 79998

                  FIRST FINANCIAL RESOUR
                  209 W CENTRAL ST STE 107
                  NATICK, MA 01760

                  HARRIS & HARRIS LTD
                  111 W JACKSON BLVD S-400
                  CHICAGO, IL 60604
Case 14-40064   Doc 1   Filed 11/04/14   Entered 11/04/14 12:25:11   Desc Main
                  IL Bone & Joint Institute
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                  5057 PAYSPHERE CIRCLE
                  Chicago, IL 60674

                  ILLINOIS COLLECTION SE
                  8231 185TH ST STE 100
                  TINLEY PARK, IL 60487

                  ILLINOIS DEPARTMENT OF Human Services
                  222 S. College
                  2nd Floor
                  Springfield, IL 62794-9429

                  Illinois Department of Revenue
                  Attn: Installment Contract Uni
                  P.O. Box 19035
                  Springfield, IL 62794

                  Zabrin Inan
                  1750 N. Mohawk #204
                  Chicago, IL 60614

                  Internal Revenue Service
                  Insolvency Section
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346

                  James T. Gately Law Office
                  8233 185th St.
                  Tinley Park, IL 60487

                  John L. Elias and Associates
                  8 S. Michigan Ave.
                  Suite 2800
                  Chicago, IL 60603

                  Jovan Cupic
                  8800 N. Lockwood
                  Skokie, IL 60077

                  Judith Louis

                  Kim Han Jung

                  Kovach Eye Institute, LTD
                  152 N. Addison Ave.
                  1st Floor
                  Elmhurst, IL 60126

                  Kurt Bexheti
                  1000 N. Lake Shore Plaza
                  Chicago, IL 60611

                  Larry A. Chambers LTD.
                  3856 Oakton St.
                  Skokie, IL 60076

                  Law Offices of Goldberg Law Group
                  120 South Riverside Plaza
                  Suite 1675
                  Chicago, IL 60606
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                  LifeStorage of Morton
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                  6505 Oakton St.
                  Morton Grove, IL 60053

                  LINCOLN PARK DTL SPEC, LTD
                  1960 N. Lincoln Park West
                  Chicago, IL 60614

                  LINDEN OAKS HOSPITAL
                  852 WEST STREET
                  Naperville, IL 60540

                  Mbna America Na

                  Medical Financial

                  MERCHANTS CREDIT GUIDE
                  223 W JACKSON BLVD STE 4
                  CHICAGO, IL 60606

                  Merrick, Costello & Walsh, LLC
                  P.O. Box 1689
                  Dover, DE 19903

                  MICHAEL R. RICHMOND
                  33 NORTH DEARBORN STREET
                  SUITE 1907
                  CHICAGO, IL 60602

                  Michigan Avenue Immediate Care
                  180 N. Michigan Ave.
                  Suite 1605
                  Chicago, IL 60601

                  MIDLAND FUNDING
                  8875 AERO DR STE 200
                  SAN DIEGO, CA 92123

                  Naperville Psychiatrist

                  Nora Medical Group
                  6969 N. Lincoln Ave.
                  Lincolnwood, IL 60712

                  Northland Group
                  P.O. Box 390905
                  Minneapolis, MN    55439

                  NORTHWESTERN MED F F
                  38693 Eagle Way
                  Chicago, IL 60678

                  Northwestern Memorial Hospital
                  251 E Huron St
                  billiing department
                  Chicago, IL 60611

                  Northwestern Memorial Physicians Group
                  75 Remittance Drive #1293
                  Chicago, IL 60675-1293
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                  Oak Tree Developmental
                        Document    Page Center
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                  1640 N. Wells St. #103
                  Chicago, IL 60614

                  Palmisano Law Group
                  10760 W. 143rd St.
                  Suite 63
                  Orland Park, IL 60462

                  Premiere Credit of N. America
                  P.O. Box 19309
                  Indianapolis, IN 46219

                  Presence Our Lady Of Resurrection
                  5645 West Addison Street
                  Chicago, IL 60634

                  Presence St. Joseph Hospital
                  2913 N Commonwealth Ave,
                  Chicago, IL 60657

                  Primary Care Medical Associates, Ltd

                  Public Storage Inc
                  4072 N. Broadway St.
                  Chicago, IL 60613

                  Recovery Partners      L

                  RECOVERY PARTNERS LLC
                  4151 N MARSHALL WAY STE
                  SCOTTSDALE, AZ 85251

                  Regus USA
                  15305 Dallas Pkwy #400
                  Addison, TX 75001

                  Resiman Robert

                  Robins & Associates LLC
                  33 N. Dearborn St., Suite 500
                  Chicago, IL 60602

                  Sabit Inan
                  1000 N. Lake Shore Drive
                  Unit 308
                  Chicago, IL 60611

                  Saint Hospital

                  Sallie Mae
                  Po Box 9655
                  Wilkes-barre, PA       18773

                  Sallie Mae Inc.
                  c/o Allied Interstate LLC
                  P.O. Box 361347
                  Columbus, OH 43236
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                  Sanford Kahn, Ltd. Page 58 of 68
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                  180 N. LaSalle St.
                  Suite 2025
                  Chicago, IL 60601

                  Slm Financial Corp
                  11100 Usa Pkwy
                  Fishers, IN 46037

                  SUPERIOR AIR-GROUND AMBULANCE
                  395 WEST LAKE STREET
                  P.O. BOX 1407
                  ELMHURST, IL 60126

                  T MOBILE USA, INC.
                  T Mobile Bankruptcy
                  P O Box 37380
                  Albuquerque, NM 87176

                  THE Pediatric Faculty Foundation
                  PO Box 4051
                  Carol Stream, IL 60122-4051

                  Travelers Insurance
                  Subro Auto 9048
                  One Tower Square
                  Hartford, CT 06183

                  USA FUNDS, INC.
                  P.O. BOX 6180
                  INDIANAPOLIS, IN       46206-6180

                  YR Medical Group
                  852 West Street
                  Naperville, IL 60540

                  Ziegler Jeep
                  208 W Golf Rd
                  Schaumburg, IL    60195
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                                                 UNITED STATES BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION

In re Zabrin Inan                                                                                                     Case No.
                                                                                                                      Chapter 7



                                                                                                           / Debtor




                                                      CHAPTER 7 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                 Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                      Describe Leased Property:                                          Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No




                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 9/23/2014                                                   Debtor: /s/ Zabrin Inan

Date:                                                             Joint Debtor:




                                                                                                                                                    Page    1 of      1
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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

In re: Zabrin Inan                                                                                        ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: 0
   Last Year: 0
Year before:


Year to date: 0
   Last Year: $2,269 net
Year before: $33,147 net


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




                                                                                                                   Statement of Affairs - Page 1
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       3. Payments to creditors
None   Complete a. or b., as appropriate, and c.

       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
       creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)




None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
       commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
       an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
       were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




                                                                                                                       Statement of Affairs - Page 2
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None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: HELLER & RICHMOND,                              Date of Payment:                                             $1,500.00
LTD.                                                   Payor: Zabrin Inan
Address:
33 NORTH DEARBORN STREET
SUITE 1907
CHICAGO, IL 60602


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




                                                                                                                    Statement of Affairs - Page 3
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       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                                                                                             DATES OF
ADDRESS                                                                NAME USED                                                             OCCUPANCY

Debtor:                                                                Name(s):                                                              07/13 -
Address: 750 N. Dearborn                                                                                                                     11/13
Chicago


Debtor:                                                                Name(s):                                                              06/12- 06/13
Address: 175 N. Harbor Dr.
Chicago


Debtor:                                                                Name(s):                                                              10/11 -
Address: 8521 Lotus Ave Skokie,                                                                                                              06/12
IL


       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or


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         similar termunder an Environmental Law:
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         a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
         under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
         governmental unit to which the notice was sent and the date of the notice.




None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.




None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   9/23/2014                              Signature       /s/ Zabrin Inan
                                                     of Debtor


                                                     Signature
       Date
                                                     of Joint Debtor
                                                     (if any)




                                                                                                                               Statement of Affairs - Page 5
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    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION
   In re Zabrin Inan                                                                                                         Case No.
                                                                                                                             Chapter 7


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $                         0.00

 B-Personal Property
                                             Yes                3        $                 4,350.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $                       0.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                2                                          $              67,913.89
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes               20                                          $              791,391.64

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                       0.00

 J-Current Expenditures of
   Individual Debtor(s)
                                              No                0                                                                          $                9,006.00

                                  TOTAL                       31         $                 4,350.00 $                   859,305.53
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                                               UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION
   In re Zabrin Inan                                                                                                             Case No.
                                                                                                                                 Chapter 7



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   67,913.89
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $   0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   67,913.89

 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $   0.00
   Average Expenses (from Schedule J, Line 22)                                                                        $   9,006.00
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   0.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   67,913.89
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   791,391.64
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   791,391.64
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In re Zabrin Inan                                                                                                            Case No.
                                                         Debtor                                                                                                   (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           32    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   9/23/2014                                       Signature   /s/ Zabrin Inan
                                                                          Zabrin Inan




                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
